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           UNITED STATES DISTRICT COURT
      --------------- DISTRICT OF MARYLAND ---------------


                                                        APPEARANCE

UNITED STATES OF AMERICA

v.                                                         CASE NUMBER: JMC-24-0156

OWEN JARBOE

To the Clerk of this Court and all parties of record:

       Please enter my appearance as counsel in this case for Owen Jarboe. I certify that I am

admitted to practice in this court.



Date: February 2, 2024



                                                                       /s/
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